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                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF KENTUCKY
                                                       LOUISVILLE   DIVISION


  Kentuckians for the Commonwealth



  -Vs-                                                                            Case No.:324-cv-00387-BJB

  Adams, et al.

                                         MOTION FOR ADMISSION PRO HAG VICE

         Comes now Michelle E. Kanter Cohen                    , Applicant herein, and moves this Court
 to grant my admission to the United States District Court for the Western District of Kentucky pro
 hac vice to represent Kentuckians for theCommonwealth in this case.

         1. Applicant is an attorney and a member of the law firm (or practices under the name of)
             Fair Elections Center

             with offices at

                         Mailing address: 1 8 2 5 K Street NW

                         City, State, Zip Code: Suite 701

                         Telephone: 2 0 2 - 3 3 1 - 0 1 1 4

                         E-Mail:                       mkantercohen@fairelectionscenter.org

         2. Applicant is admitted to practice, currently in active status, and in good standing as an attorney in
         the following United States courts OR the highest court of the following states:
         U.S. Court/State: A d m i s s i o n Date:                                 B           a       r       No.:
                  DC   8 / 2 0 0 9                                  9        8      9          1   6       4
                US -DDC 5 / 2 / 2 0 1 1                              9        8      9         1   6       4
            US - SCOTUS              5 / 1 8 / 2 0 1 8                       N             /       A
               US- 4 CIR         1 0 / 1 5 / 2 0 2 0                         N             /       A
               US 6 CIR              6   /    2   0   2   1              N             /           A
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        3. Applicant HAS NOT 0 been disbarred, suspended from practice or subject to any
            disciplinary action by any court, Bar, or other admitting or licensing authority. Applicant
            HAS b e e n disbarred, suspended from practice or subject to any disciplinary action by
            any court, Bar, or other admitting or licensing authority. Please explain.




        4. Applicant consents to the jurisdiction and rules of the Kentucky Supreme Court governing
            professional conduct and acknowledges having reviewed General Order 23-11 of the
            Western District of Kentucky and agrees to pay all required renewal fees.

        5. I have completed training for mandatory electronic case filing through D the
            Kentucky Bar Association CLE course OR 11] on-line tutorial authorized class room
            training OR 111 other method Please explain:
             I am familiar with NextGen filing and have taken several official ECF trainings
             using that system.



        6. Applicant tenders with this Motion the following:
                El T h e required pro hoc vice motion fee of $150.00

        Wherefore, Applicant prays that this Court enter an order permitting the admission of
        Michelle E. Kanter Cohen to the Western District of Kentucky pro hoc.ce for this case
        only.

                                                           [Signature of Atty toThe admitted - Hand Signed]
                  If filed by an attorney other than the applicant, please complete the section below

                                                                                                                                Signature
                                                                            Kentucky Equal Justice Ctr. 900 S. Shelby Street

                                                                                                                      Mailing Address
                                                                             Louisville, KY
                                                                                                                               City/State
                                                                            40203
                                                                                                                                  Zipoode
                                                                            502-303-4062
                                                                                                                               Telephone
                                                                            bengkyequaljustice.org
                                                                                                                                    Email




 Motions to appear pro hac vice are governed by LR 83.2 and LCrR 57.2. Pursuant to said rules, the Attorney General
 or any other bar member of the Department of Justice, or of any federal agency, including federal public defenders or
 panel attorneys that cross district lines, or any attorney appointed pursuant to the Criminal Justice Act, need not seek
 admission pro hac vice.
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